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                              UNITED STATED DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                 MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                        Date: 8/3/2022
JUDGE: JOHN MICHAEL VAZQUEZ
COURT REPORTER: Lisa A. Larsen

TITLE OF CASE:
                                                      DOCKET # 20-578
UNITED STATES OF AMERICA
           vs.

Jeffrey Andrews
Chad Beene
Adam Brosius


APPEARANCES:

Jason Gould, AUSA
Mark Berman, Esq. for Defendant Adam Brosius
David Eskew, Esq. for Defendant Adam Brosius
Janel Alania, Esq. for Defendant Adam Brosius
Michael Wynne, Esq. for Defendant Chad Beene
Michael Engle, Esq. for Defendant Jeff Andrews
Jim Turner, Esq. for Defendant
Clients present by video conference.

Nature of Proceedings:    MOTION HEARING HELD by ZOOM video conference

Hearing held with oral argument as to the pending motions for bill of particulars.
Court reserved in part and denied in part.
Trial in this matter is scheduled for 4/3/2023.
Order to issue.

Time Commenced: 10:30
Time Adjourned: 12:00
Total Time: 1:30


                                              RoseMarie Olivieri
                                             SENIOR COURTROOM DEPUTY
